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                        EXHIBIT 1
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          Request to Withdraw Interrogatories and Consent to Extend Time for Document
          Production and Deposition of Plaintiff
          Leslie McAdoo Gordon <leslie.mcadoo@mcadoolaw.com>
          Thu 8/25/2022 8:44 PM
          To: Terry Reed <tgreed@lrfirm.net>
          Terry: Two issues: (1) Your Interrogatories and (2) Dates for Document Produc on and for Ms.
          Lokhova's Deposi on.

          First, Interrogatories: I have worked my way through all your Interrogatories and in the interest of
          narrowing the issues for Judge Fitzpatrick to decide, I am reques ng that you agree to withdraw:

          1.     Interrogatory #8 as it relates to your Counterclaims, which are not legally viable, and
          2.     Interrogatories 9, 10, and 13 through 18 as these are outside the scope of any reasonable
          discovery in this case, irrelevant, and purely designed to harass Ms. Lokhova; and also
          3.     To narrow Interrogatories 13 and 14 to the extent that they include Lokhova I as that is not
          relevant to this case.

          In addi on, your deﬁni on of "You" and the cutoﬀ date of 2008 for some of the Interrogatories are
          also totally inappropriate and result in many of your other Interrogatories, which might otherwise be
          acceptable, being completely dispropor onate to the case and making discovery so expansive as to
          be absurd. Will you agree to make the cutoﬀ date 2015? And, will you agree to deﬁne "You" to mean
          only Ms. Lokhova?

          The remainder of your Interrogatories are objec onable in part, but along ordinary lines, such as
          being generally overbroad, imposing obliga ons outside of the rules, etc. and I would ordinarily make
          a formal objec on and then produce documents subject to the objec ons. But, given how over-the-
          top and inappropriate the ones iden ﬁed above are, I intend to raise all my objec ons and let the
          Magistrate Judge rule on all of them. If you will agree to withdraw or modify the ones listed above
          and to the change in the deﬁni on of "You" and the date limita on described above, however, I am
          agreeable to trea ng the remainder of your Interrogatories in the usual fashion. Those would be: 1
          through 7, 11 and 12, and 13 and 14 as modiﬁed.

          Second, Dates for Document Produc on and Ms. Lokhova's Deposi on.

          I intend to appeal Judge Fitzpatrick's decision to hold to the no ced September 6, 2022 Deposi on
          date for Ms. Lokhova and to the requirement to produce documents before that date. In the interest
          of seeking to avoid an unnecessary appeal, I would ask you again to agree to a produc on date of
          September 15 for documents and to co-ordinate with me on an appropriate date for Ms. Lokhova's
          deposi on, likely in early October. Please advise whether you will consent to these requests.

          I am s ll working my way through your Requests for Document Produc on and so will write you
          separately about those when I've ﬁnished my review.

          Leslie

          Leslie McAdoo Gordon


1 of 2                                                                                                            9/1/2022, 2:02 PM
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          McAdoo Gordon & Associates, P.C.
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2 of 2                                                                                                9/1/2022, 2:02 PM
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          Alternative for Sep 6 Deposition
          Leslie McAdoo Gordon <leslie.mcadoo@mcadoolaw.com>
          Thu 8/25/2022 10:27 PM
          To: Terry Reed <tgreed@lrfirm.net>
          Terry: In discussing whether Ms. Lokhova can make the logis cs work to come here for the no ced
          Deposi on date if it does not get moved, there are numerous issues that complicate her doing so,
          including the usual obstacles to long distance travel, lining up care for her pre-school child, and
          immigra on hurdles. In order to avoid those, would you agree to take her deposi on by Zoom or
          some similar long-distance method?

          Leslie

          Leslie McAdoo Gordon
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1 of 1                                                                                                           9/1/2022, 2:04 PM
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          Requests for Production of Documents - Objections and Effort to Reach Agreement
          on Some
          Leslie McAdoo Gordon <leslie.mcadoo@mcadoolaw.com>
          Fri 8/26/2022 2:43 PM
          To: Terry Reed <tgreed@lrfirm.net>
          Terry: I ﬁnally got through all of your Document Requests and in the interest of narrowing the issues
          for Judge Fitzpatrick to decide, I am reques ng that you agree to withdraw the following requests:

          1.      No. 5 as it relates to your Counterclaims, which are not legally viable, and
          2.      Nos. 3, 4, 11-15, 16-18, 20, 24, 27, 30 - 33, 35-49 as these are outside the scope of any
          reasonable discovery in this case, irrelevant, and purely designed to harass Ms. Lokhova; and also
          3.      To narrow Nos. 7 and 8 to exclude the "media companies," No. 21 to monies related to the
          book at issue, Nos. 22 and 23 to apply only to edits a er the issuance of your two le ers, and No. 19
          to limit it to people who actually had some rela onship to the book.

          In addi on, your deﬁni on of "You" is totally inappropriate and result in many of your requests,
          which might otherwise be more acceptable, being completely dispropor onate to the case and
          making discovery so expansive as to be absurd. Will you agree to deﬁne "You" to mean only Ms.
          Lokhova?

          The remainder of your Interrogatories are objec onable in part, but along ordinary lines, such as
          being generally overbroad, imposing obliga ons outside of the rules, etc. and I would ordinarily make
          a formal objec on and then produce documents subject to the objec ons. But, given how over-the-
          top and inappropriate the ones iden ﬁed above are, I intend to raise all my objec ons and let the
          Magistrate Judge rule on all of them. If you will agree to withdraw or modify the ones listed above
          and to the change in the deﬁni on of "You" and the date limita on described above, however, I am
          agreeable to trea ng the remainder of your Interrogatories in the usual fashion.

          Please let me know if you will agree to these requests. Thanks.


          Leslie

          Leslie McAdoo Gordon
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          Suite 300
          Washington, DC 20006
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1 of 1                                                                                                            9/1/2022, 2:05 PM
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          Case 1:20-cv-01603-LMB-WEF Document 89-1 Filed 09/01/22 Page 6 of 7 PageID# 1148


          Re: Your Email of Last Night Regarding Scheduling
          Leslie McAdoo Gordon <leslie.mcadoo@mcadoolaw.com>
          Fri 8/26/2022 4:36 PM
          To: Terry Reed <tgreed@lrfirm.net>
          I understand your posi on. I will be no cing my Objec on to the Magistrate's Rulings against plain ﬀ
          for next Friday - extension of the produc on deadline and deposi on con nuance. As to the
          Magistrate's Rulings on the Objec ons to your Discovery, I plan to ﬁle that also, here in a few
          minutes.

          Leslie

          Leslie McAdoo Gordon
          McAdoo Gordon & Associates, P.C.
          1629 K Street, N.W.
          Suite 300
          Washington, DC 20006
          (202) 704-7388
          mcadoolaw.com


          From: Terry Reed <tgreed@lrﬁrm.net>
          Sent: Friday, August 26, 2022 3:53 PM
          To: Leslie McAdoo Gordon <leslie.mcadoo@mcadoolaw.com>
          Cc: Luskin, Robert <robertluskin@paulhas ngs.com>
          Subject: Your Email of Last Night Regarding Scheduling

          Leslie,


                 In response to your email of 8:45 PM last night, I can respond that I am not
          willing to withdraw the cited interrogatories at this point. Your suggested objections
          are largely those you raised to outstanding defense discovery generally at the
          Wednesday hearing which were not accepted by the Magistrate. Your email suggests
          that, regardless of my response, you will raise all of your objections to the Magistrate,
          which is your right.
                   In order to assist you, I am offering my response to your questions as follows:


                   1. The viability of the counterclaims is in dispute, and indeed the requested
                      discovery is needed to address your recently filed summary judgment upon
                      them. This is not a reason to withdraw the outstanding discovery. As I pointed
                      out at the hearing, this same information is discoverable on the defense of res
                      judicata as it is on the counterclaims.



1 of 2                                                                                                          9/1/2022, 2:07 PM
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                2. The information in interrogatories 9, 10, and 13 to 18 is relevant and not
                   outside the scope of reasonable discovery, as you suggest.

                3. Narrowing interrogatories 13 & 14 because Lokhova I is allegedly not relevant
                   to this case is the same objection you raised unsuccessfully with the Magistrate
                   on Wednesday.


                    The sparse use of a cutoff date of 2008 in some interrogatories is intentional
                and reasonable. You have not explained the problem with the definition of
                Plaintiff as “You” in the discovery, and I will reserve responding until a problem
                is identified.
                    Rather than rejecting your ability to make tardy objections on Wednesday, the
                Magistrate graciously afforded you the opportunity to make objections today.
                His declared objective was to get the outstanding discovery issues resolved with
                timely discovery responses from the Plaintiff in advance of the notice September
                6th deposition date of Plaintiff. The Magistrate scheduled a hearing for
                Wednesday, August 31st to resolve these issues. We both agreed to this process.
                Hence, your email’s request to delay your discovery responses until September
                15th is a departure from the Magistrate’s rulings and scheduling. I am not in a
                position to renege on my assurances to the court, and hence cannot consent to
                your new scheduling proposal.
                    I just received your email of the last hour suggesting objections to the
                requests for production of documents, and it appears largely to repeat your
                interrogatory objections from your email last night. Please accept this as a
                response to this new email, as I am not certain I will be able to respond to your
                new email by your 5 PM deadline for objections. Thanks.
                   Terry Reed




2 of 2                                                                                                     9/1/2022, 2:07 PM
